Case 2:15-cv-00652-AB-E Document 150 Filed 10/24/18 Page 1 of 3 Page ID #:1740




                              UNITED STATES DISTRICT COURT
                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION


     MARC I. WILLICK, an individual,                       CASE NO. 2:15-cv-00652 AB (CEx)
                     Plaintiff,                            [Assigned to Hon. André Birotte Jr.;
                                                           and Magistrate Judge Charles F. Eick]
                v.
                                                           [PROPOSED] JUDGMENT
     NAPOLI BERN RIPKA &                                   CONFIRMING ARBITRATION
     ASSOCIATES, LLP, a purported                          AWARD FOR PLAINTIFF MARC
     limited liability partnership; NAPOLI                 WILLICK AND AGAINST
     BERN RIPKA SHKOLNIK &                                 DEFENDANT NAPOLI BERN
     ASSOCIATES, LLP, a purported                          RIPKA & ASSOCIATES, LLP
     limited liability partnership; NAPOLI
     BERN RIPKA SHKOLNIK, LLP, a
     purported limited liability partnership;
     NAPOLI BERN RIPKA, LLP, a
     purported limited liability partnership;
     NAPOLI KAISER BERN, LLP, a
     purported limited liability partnership;
     MARC J. BERN, an individual; PAUL
     J. NAPOLI, an individual; NAPOLI
     BERN, LLP, a limited liability
     partnership; NAPOLI, KAISER, BERN
     & ASSOCIATES, LLP, a limited
     liability partnership; NAPOLI, BERN
     & ASSOCIATES, LLP, a limited
     liability partnership; LAW OFFICES
     OF NAPOLI BERN, LLP, a limited
     liability partnership; LAW OFFICES
     OF NAPOLI BERN RIPKA &
     ASSOCIATES LLP, a limited liability
     partnership; LAW OFFICES OF
     NAPOLI BERN RIPKA SHKOLNIK
     LLP, a limited liability partnership;
     399552.1                                                                 Case No. 2:15-cv-00652-AB (CEx)
                                  [PROPOSED] Judgment Confirming Arbitration Award
Case 2:15-cv-00652-AB-E Document 150 Filed 10/24/18 Page 2 of 3 Page ID #:1741



     LAW OFFICES OF NAPOLI BERN
     RIPKA SHKOLNIK & ASSOCIATES
     LLP, a limited liability partnership;
     PASTERNACK TILKER NAPOLI
     BERN, LLP, a limited liability
     partnership; NAPOLI SHKOLNIK
     PLLC, a professional limited liability
     company; NAPOLI LAW PLLC, a
     professional limited liability company;
     PAUL NAPOLI LAW PLLC, a
     professional limited liability company;
     BERN RIPKA LLP, a limited liability
     partnership; MARC J. BERN &
     PARTNERS LLP, a limited liability
     partnership; NAPOLI & BERN, LLP, a
     limited liability partnership; MARC J.
     BERN PLLC, a professional limited
     liability company; NAPOLI, KAISER
     & ASSOCIATES, LLP, a limited
     liability partnership; NAPOLI, BERN,
     KRENTSEL & GUZMAN, LLP, a
     limited liability partnership; WORBY,
     GRONER, EDELMAN & NAPOLI,
     BERN, LLP, a limited liability
     partnership; PAUL NAPOLI PLLC, a
     professional limited liability company,
     and DOES 1 through 50,
                        Defendants.


                                           JUDGMENT
                On September 13, 2018, the Court issued an order granting Plaintiff Marc
     Willick’s (“Willick”) Motion to Confirm the Final Award on Willick’s Claims
     Against Defendant Napoli Bern Ripka & Associates, LLP (“Napoli Bern”) (the
     “Final Award,” Dkt. No 134-3, Ex. 13). The Court therefore enters judgment as
     follows.
                IT IS HEREBY ORDERED, ADJUDGED, AND DECREED:
                (i)     Judgment is hereby entered in favor of Willick and against Napoli Bern
     in accordance with the Final Award;
                (ii)    The Final Award is confirmed in all respects;
                (iii)   On Willick’s First Cause of Action, Willick is entitled to $3,355,260.00
     for his share of the fees received by Napoli Bern on cases referred to Napoli Bern by

     399552.1                                                                Case No. 2:15-cv-00652-AB (CEx)
                                 [PROPOSED] Judgment Confirming Arbitration Award
Case 2:15-cv-00652-AB-E Document 150 Filed 10/24/18 Page 3 of 3 Page ID #:1742




     Willick’s Referral Sources;
                (iv)   On Willick’s Second Cause of Action, Willick is awarded damages
     against Napoli Bern in the amount of $3,355,260.00 and prejudgment interest in the
     amount of $724,198.53, for a total of $4,079,458.53;
                (v)    Willick is also awarded monetary sanctions against Napoli Bern in the
     amount of $44,198.00; and
                (vi)   The relief granted above will be the only relief granted to Willick
     against Napoli Bern on his claims against Napoli Bern. However, nothing contained
     in the Final Award or this Judgment shall impair Willick’s rights with respect to, or
     any of his claims against, any Defendant other than Napoli Bern.
                IT IS SO ORDERED.


     DATED: October 24, 2018



                                                    Honorable André Birotte Jr.




     399552.1                                                               Case No. 2:15-cv-00652-AB (CEx)
                                [PROPOSED] Judgment Confirming Arbitration Award
